      Case 18-63015-wlh           Doc 9 Filed 08/28/18 Entered 08/28/18 16:11:38                       Desc Order
                                     Dismissal - Filing Defic Page 1 of 1
                                UNITED STATES BANKRUPTCY COURT
                                     Northern District of Georgia
                                          Atlanta Division


In     Debtor(s)
Re:    Melanie Lawson Clark                                  Case No.: 18−63015−wlh
                                                             Chapter: 13



                    Order Dismissing Case For Failure Of Debtor
                           To Correct Filing Deficiency

The above referenced case was filed on August 6, 2018. A Notice was issued by the Clerk on August 7, 2018
directing the debtor to correct one or more filing deficiencies, and the debtor has failed to comply with the
Notice, and/or any subsequent order extending the time to cure filing deficiencies. Accordingly, it is hereby

ORDERED THAT THIS CASE IS DISMISSED.

Any unpaid filing fees must be paid by the Debtor(s) to the Clerk of the United States Bankruptcy Court by
September 11, 2018.

The Clerk is directed to serve a copy of this Order on the Debtor(s), the Attorney for the Debtor(s), any
Trustee, all creditors and other parties in interest. The Attorney for the Debtor(s) shall serve a copy of this
Order upon any employer of the Debtor(s) who is subject to an Employer Deduction Order.



   SO ORDERED, on August 28, 2018.




                                                             Wendy L. Hagenau
                                                             United States Bankruptcy Judge
Clerk, United States Bankruptcy Court
Atlanta Division
1340 United States Courthouse
75 Ted Turner Drive SW
Atlanta, GA 30303


Dated: 8/28/18
Form 522
